
*395The Supreme Court affirmed the judgment of the Common Pleas on May 26, 1884, in the following opinion:
Per Curiam.
The action of the Court of Quarter Sessions certifying the City of Lock Haven as the place of the insane pauper’s last settlement, fixed conclusively the liability of that poor district for her maintenance; Danville Poor District vs. Montour, 75 Pa., 35. That liability did not date merely from the time of the decree of the Court, but from the time when the pauper became a public charge, and this is, in effect, admitted, for no objection was made to charges previous to that date except so far as they were barred by the Statute of Limitations. But if this be so, on what principle can the plaintiff’s claim for interest be disallowed? If Clinton County, by force of the Hospital Act, April 14, 1845, P- Laws, 440, paid bills for which the City of Lock Haven was liable, the latter certainly became a debtor to the former for the amount so paid, and it is impossible for us to comprehend what there is in a debt, such as this, which exempts it from an incident common to all other debts.
The judgment is affirmed.
